279 F.2d 821
    108 U.S.App.D.C. 46
    BOARD OF PHARMACY OF THE DISTRICT OF COLUMBIA, Petitioner,v.Albert FELDMAN, Respondent.
    No. 15699.
    United States Court of Appeals District of Columbia Circuit.
    June 3, 1960.
    
      Messrs. Chester H. Gray, Corp. Counsel, Milton D. Korman, Principal Asst. Corp. Counsel, and Hubert B. Pair and Richard W. Barton, Asst. Corp. Counsel, were on the pleadings for petitioner.
      Mr. Harry Friedman, Washington, D.C., was on the pleadings for respondent.
      Before PRETTYMAN, Chief Judge, and EDGERTON and DANAHER, Circuit Judges, in Chambers.
      PER CURIAM.
    
    
      1
      The Municipal Court of Appeals for the District of Columbia Reversed a decision of the D.C. Board of Pharmacy, in which the Board had declined to renew respondent's license as a druggist, and remanded the case to the Board for further proceedings not inconsistent with the court's opinion.  Feldman v. Board of Pharmacy of the District of Columbia, D.C.Mun.App.1960, 160 A.2d 100.  The Board now petitions this court for the allowance of an appeal from the court's decision.
    
    
      2
      For the reasons stated at the end of the opinion of the Municipal Court of Appeals in the two paragraphs beginning, demeanor of witnesses, whenever it may be a substantial element, from getting lost from the case.'  2 Davis, Administrative Law Treatise 113 (1958 ed.).  The petition for the allowance of an appeal is therefore denied.  be a substantial element, from getting lost from the case.'  2 Davis, Administrative Law Treatise 113 (1958 ed.).  The petition for the allowance of an appeal is therefore denied.
    
    